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                                   NOTICE OF HEARING




                   UNITED STATES DISTRICT COURT
                                       FOR THE
                                 DISTRICT OF VERMONT



United States of America

       v.                                         Case No. 5:19-cr-43-1

Bryan Wright



TAKE NOTICE that the above-entitled case has been scheduled at 11:30 AM on Friday, July
21, 2023 in Burlington, Vermont, before Honorable Geoffrey W. Crawford, District Judge, for a
Final Hearing re: Revocation of Supervised Release.


Location: Courtroom 110                                  JEFFREY S. EATON, Clerk
                                                         By: /s/ Emerson Howe
                                                         Deputy Clerk
                                                         7/7/2023

TO:

Barbara A. Masterson, AUSA

Mark D. Oettinger, Esq.

Sunnie Donath, Court Reporter
